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                                                                                                             Patricia Henderson
                                                                                                                    District Clerk
                                                                                                           Tayfor County, Texas
                                                                                                          Kathy Conway
                                                  10325-D
                                  CAUSENO.


     JERRY YOUNG,                                   §                            I N THE DISTRICT COURT
          Plaintiff,                                §
                                                    §
                                                    §
     vs.                                            §                            TAYLOR COUNTY, TEXAS
                                                    §
     STATE FARM IxLOYDS,                            §
                                                        T a y l c r 3 5 0 t K
             Defendant:                             §                           ^^^ICIAJLMSTRICT

                                 PLATNTIFF'S ORIGINAL PETITION

     TO THE HONORABLE JUDGE OF SAID COURT:

             COMES NOW Jerry Young (hereinafter "Plaintiff'), and complains of State Farm

     Lloyds (hereinafter "Defendant"). In support of his claims and causes of action, Plaintiff would

     respectfully show the Court as follows:

                                           DISCOVERY LEVEL

             1.      Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

     the Texas Rules of Civil Procedure.

                                      JURTSfiTCTTON AWP VENUE

             2.      This Court has jurisdiction to hear Plaintiff s claims under Texas common law and

     Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

      limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

     this suit occurred within the city of Abilene, in Taylor County, Texas.

                                                   EAEIIES

              3.     Plaintiff, Jerry Young, is an individual whose residence is located in Abilene,

      Taylor County, Texas.


      PLAINTIFF JERRY YOUNG'S ORIGINAL PETITION




                                                                                                                     EXHIBIT
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            4.      Defendant, State Farm Lloyds, is a company engaged in the business of adjusting

     insurance claims. This includes Plaintiffs insurance policy which is at issue in the present case.

     Defendant State Farm is a Texas insurer, which may be served, with process by serving this

     Original Petition and a copy of the citation on its Registered Agent, Rendi Black C/O State Farm,

     at its registered address, 17301 Preston Road, Dallas, Texas 75252-5727.

                                             :BACJ£GRQUjKB

             5.     This matter revolves largely around a first parly insuranfee dispute regarding the

     extent of damages and amount of loss suffered to the Plaintiff's Property, whichis located at 641

     Briarwood Street, Abilene, TX 79603, (hereinafter "the Property"). In addition to seeking

     economic and penalty based damages from Defendant, Plaintiff also seeks compensation from

     Defendant for damages caused by improperly investigating the extensive losses associated with

     this case.

             6.      Plaintiff owns the Property.

             7.      Prior to the occurrence in question, Plaintiff purchased a residential insurance

     policy from Defendant to cover the Property at issue in this case for a loss due to storm-related

     events. Plaintiff s Property suffered storm-related damage. Through his residential policy, 84

     T530538, Plaintiff was objectively insured for the subject loss by Defendant.

             8.      On or around June 12, 2014, the Property suffered incredible damage due to storm

     related conditions.

             9.      In the aftermath, Plaintiff relied on Defendant to help begin the rebuilding

     process. By and through his residential policy, Plaintiff was objectively insured for the subject

     losses in this matter.



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     PLAINTIFF JERRY YOUNG'S ORIGINAL PETITION                       .                                 S
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             10. Pursuant to his obligation as a policyholder, Plaintiff: made complete payment of all

     residential insurance premiums in a timely fasMoh. Moreover, his residential policy covered

     Plaintiff during the time period in question.

             11.    Despite Plaintiff's efforts, Defendant continually failed and refused to pay

     Plaintiff in accordance with its promises under the Policy.

             12.   Moreover, Defendant lias failed to make any reasonable attempt to settle Plaintiff's

     claims in a fair manner, although its liability to mMsm^       mdm M policy is without dispute.

             13.    In the monfts allowing, Plaintiff provided kforrnation to Defendant, as well as

     provided opportunities for Defendant to inspect the Property.          However, Defendant tailed to

     conduct a fair investigation into the damage to the Property. Moreover, Defendant failed to

     properly inspect the Property and its related danjages, failed to properly request information,

     failed to properly investigate the claim, failed to timely evaluate the claim, failed to timely

     estimate the claim, and failed to timely and properly report; and make recommendations in regard

     to Plaintiff's claims.

             14.     Despite Defendant's; improprieties, Plaintiff continued to provide information

     regarding the losses and the related claim to Defendant.             Further, Plaintiff made inquiries

     regarding the states of the losses, and payments. Regardless, Defendant failed and refused to

     respondtothe inquiries, and failed to properly adjust the claim and the losses. As a result, to this

     date, Plaintiff has hot received proper payment for his claim, even though notification was

     provided,

             15.     Defendant has failed to explain the reasons for failing to offer adequate

     compensation for the damage to the Property. Defendant has furthermore failed to offer Plaintiff

      adequate compensation without any explanation why full payment Was not being made.

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     Defendant did not communicate that any future settlements or payments would be forthcoming

     to pay the entire losses covered under the policy.

             16.    Defendant has further failed to affirm or deny coverage within a reasonable time.

     Plaintiff also did not receive timely indication of acceptance or rejection regarding the full and

     entire claim in writing from Defendant in a timely manner.

             17.    Defendant has, to date^ refused to felly compensate Plaintiff under the terms of

     the policy for which Plabtiff paid, even though i t was Defendant that failed to conduct a

     reasonable investigation. Ultimately, Defendant performed a result-oriented mvestigation of

     Plaintiffs claim that resulted in an unfair, biased and inequitable evaluation of Plaintiff s losses.

             18.    Defendant has failed to meet its obligations under the Texas Insurance Code

     regarding timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiff s claim,

     and requesting all information reasonably necessary to investigate Plaintiffs claims within the

     time period mandated by statute.

             19.    As a result of the above issues, Plaintiff did not receive the coverage for which he

     had originally contracted with Defendant. Unfortunately, Plaintiff has, therefore, been forced to

     file this suit in order to recover damages arising from the above conduct, as well as overall from

     the unfair refusal to pay insurance benefits.

             20. In addition, Defendant has failed to place adequate and proper coverage for Plaintiff

     causing Plaintiff to suffer further damages. As indicated below, Plaintiff seeks relief under the

     common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

     Code.

                                        CONBTTfONS PRECEDENT

             21.    A l l conditions precedent to recovery by Plaintiff has been met or has occurred.

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                                                AGENCY

            22.     All acts by Defendant were undertaken and completed by its officers, agents,

     servants, employees, ajid/or. representatives. Such were either done with the full authorization or

     ratification of Defendant and/or were completed in its normal and routine course and scope of

     employment with Defendant.

                               "   €MT1W$ A Q A J H S T J I M E E ^ M X

            23.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

     under me foregoing paragraphs.

                                                     A.

                                             NEGLIGENCE

             24.    Defendant had and owed a legal duty to Plaintiff to properly adjust the structural

     and property damage and other insurance losses associated with the Property.                       Defendant

     breached this duty in a number of ways, including but not limited to the following:
                     a.     Defendant was to exercise due care in adjusting and paying policy
                            proceeds regarding Plaintiffs Property loss;

                     b.     Defendant had a duty to competently and completely handle and pay all
                            damages associated with Plaintiffs Property; and/or

                     c.     Defendant failed to properly complete all adjusting activities associated
       '                    with Plabtiff.

             25.     Defendant's acts, omissions, and/or breaches did great damage to Plaintiff, and

      were a proximate cause of Plabtiff's damages.

                                                B.
                                        BREACH OF CONTRACT

              26.    Plabtiff hereby incorporates by reference all facts and circumstances set forth

      under me foregoing paragraphs.

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      PLAINTIFF JERRY YOUNG'S ORIGINAL PETITION                                     Tr"  r
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            27.     According to the policy that Plaintiff purchased, Defendant had the absolute duty

     to investigate Plaintiffs damages, and to pay Plaintiff's policy benefits for the claims made due

     to the extensive storm-related damages,

            28.     As a result of the storm-related event, Plaintiff suffered extreme external and

     internal damages,

            29.      Despite objective evidence of such damages, Defendant has breached its

     contractual obligations under the subject insurance policy by failing to pay Plaintiff benefits

     relating to the cost to properly repair Plaintiff's Property, as well as for related losses. As a result

     of this breach, Plaintiff has suffered actual and consequential damages.

                                             C.
                            VIOLATIONS OF TEXAS' DECEPTIVE TRADE
                              PRACTICES ACT AND TIE-IN-STATUTES

             30.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

     under the foregoing paragraphs.

             31.     Defendant's collective actions constitute violations of the DTPA, including but

     not limited to, Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas

     Business & Commerce Code. Defendant collectively engaged in false, misleading, or deceptive

     acts or practices that included, but were not limited to:

                     a.      Representing that an agreement confers or involves rights, remedies, or
                             obligations which it does not have or involve, or which are prohibited by
                             law;

                     b.      Misrepresenting the authority of a salesman, representative, or agent to
                             negotiate the final terms of a consumer transaction;

                     c.      Failing to disclose information concerning goods or services which were
                             known at the time of the transaction, and the failure to disclose such
                             information was intended to induce the consumer into a transaction into


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                           which the consumer would not have entered had such information been
                           disclosed;

                   d.    - •Using or employing an act or practice in violation of the Texas Insurance
                            Code;        '                 '

                   e.      Unreasonably delaying the investigation, adjustment and resolution of
                           Plaintiff's claim;

                   £       Failure to properly investigate Plaintiff s claim; and/or

                    g.     Hiring and' relying upon a biased engineer and/or adjuster to obtain a
                           favorable, result-oriented report to assist Defendant in low-balling and/or
                           denying Plaintiffs damage claim.

            32.    As described in this Original Petition, Defendant represented to Plaintiff that his

     insurance policy and Defendant's adjusting and investigative services had characteristics or

     benefits that it actually did not have, which gives Plaintiff the right to recover under Section

     17.46 (b)(5) of the DTPA.

            33.     As described in this Original Petition, Defendant represented to Plaintiff that its

     insurance policy and Defendant's adjusting and investigative services were of a particular

     standard, quality, or grade when they were of another, which stands in violation of Section 17.46

     (b)(7) of the DTPA.

             34.    By representing that Defendant would pay the entire amount needed by Plaintiff

     to repair the damages caused by the storm-related event and then not doing so, Defendant has

     violated Sections 17.46 (b)(5), (7) and (12) of the DTPA.

             35.    Defendant has breached an express warranty that the damage caused by the storm-

      related event would be covered under the subject insurance policies.              This breach entitles

      Plaintiff to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.



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            36.      Defendant's actions, as described herein, are unconscionable in that it took

     advantage of Plaintiffs lack of knowledge, ability, and experience to a grossly unfair degree.

     Defendant's unconseiohable conduct gives Plaintiff' the right to relief under Section 17.50(a)(3)

     oftheDTPA.

            37.      Defendant's conduct, acts, omissions,, and failures, as described in this Original

     Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of

     theDTPA.

            38.      Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,

     misleading, or deceptive acts or practices made by Defendant to his detriment. As a direct and

     proximate result of Defendant's collective acts and conduct, Plaintiff has been damaged in an

     amount in excess of the hunimumj'urisdictional limits of this Court, for which Plaintiff now

     sues. All of the above-described acts, omissions, and failures of Defendant are a producing cause

     of Plaintiff s damages that are described in this Original Petition,

             39.     Because Defendant's collective actions and conduct were committed knowingly

     and intentionally, Plaintiff is entitled to recover, in addition to all damages described herein,

     mental anguish damages and additional penalty damages, in an amount not to exceed three times

     such actual damages, for Defendant having knowingly committed its conduct. Additionally,

     Plaintiff is ultimately entitled to recover damages in an amount not to exceed three times the

      amount of mental anguish and actual damages due to Defendant having intentionally committed

      such conduct

             40.     As a result of Defendant's unconscionable, misleading, and deceptive actions and

      conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to

      protect and pursue these claims on his behalf. Accordingly, Plaintiff also seeks to recover his

      PLAINTIFF JERRY YOUNG'S ORIGINAL PETITION



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     costs and reasonable and necessary attorneys* fees as permitted under Section 17.50(d) of the

     Texas Business & Commerce Code, as well as any other such damages to which Plaintiff may

     show himself to be justly entitled at law and in equity.

                                             D.
                            VIOLATIONS OF TEXAS INSlJRANCE CODE

            41.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

     within the foregoing paragraphs. .

            42.     Defendant's actions constitute violations of the Texas Insurance Code, including

     but not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section

     541.060), Article 21.21 Section 11(e) (codified as Section 541.061), and Article 21.55 Section

     3(f) (codified as Section 542.058).       Specifically, Defendant engaged, in certain unfair or

     deceptive acts or practices that include, but are not limited to the following:

                    a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                            settlement of a claim with respect to which the insurer's liability has
                            become reasonably clear;

                    b.      Failing to provide promptly to a policyholder a reasonable explanation of
                            the basis in the policy, in relation to the facts or applicable law, for the
                            insurer's denial of a claim or for the offer of a compromise settlement of a
                            claim;

                    c.      Refusing to pay a claim without conducting a reasonable investigation
                            with respect to the claim;

                    d.      Forcing Plaintiff to file suit to recover amounts due under the policy by
                            refusing to pay all benefits due;

                     e.     Misrepresenting an insurance policy by failing to disclose any matter
                            required by law to be disclosed, including a failure to make such
                            disclosure in accordance with another provision of this code; and/or

                     f.     Failing to pay a valid claim after receiving all reasonably requested and
                            required items from the claimant.


     PLAINTIFF JERRY YOUNG'S ORIGINAL PETITION                                                      Page 9
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            43.    Plaintiff is the; insured or beneficiary of a claim which was apparently valid as a

     result of the unauthorized acts of Defendant, and Plaintiff relied upon these unfair or deceptive

     acts or practices by Defendant to Ms detriment. Accordingly, Defendant became the insurer of

     Plaintiff

             44.   As a direct and proximate result of Defendant's acts and conduct, Plaintiff has

     been damaged in m amount in excess of the mmimum jurisdictional Umits of this Court, for

     which he now sues.

             45.    Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

     and because Defendant's actions and conduct were committed knowingly and intentionally,

     Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish

     damages and additional damages in an amount not to exceed three times the amount of actual

     damages, for Defendant having knowingly committed such conduct. Additionally, Plaintiff is

     entitled to recover damages in an amount not to exceed three times the amount of mental and

     actual damages for Defendant having intentionally committed such conduct.

             46.    As a result of Defendant's unfair and deceptive actions and conduct, Plaintiff" has

     been forced to retain the legal services of the undersigned attorneys to protect and pursue these

     claims on his behalf. Accordingly, Plaintiff also seeks to recover his costs and reasonable and

     necessary attorneys' fees as permitted under Section 17.50(d) of the Texas Business &

     Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas

     Insurance Code and any other such damages to which Plaintiff may show himself justly entitled

     by law and in equity.




      PLAINTBFF JERRY YOUNG'S ORIGINAL PETITION                            -    ' - s ^ ? ^      Page 10


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                                             I.
                              BREACH OF THE COMMON-LAW DUTY
                               OF GOOD FAITH AND FAIR DEALING

            47.    Plaintiff hereby incorporates by reference all facts and circumstances in the

     foregoing paragraphs.

            48;     By its acts, omissions, failures and conduct, Defendant has breached its common

     law duty of good faith and fair dealing by denying Plaintiff's claims or inadequately adjusting

     and making ah offer oh Plaihtiffs claims without any reasonable basis, and by failing to conduct

     a reasonable investigation to determine whether there was a reasonable; basis for this denial,

            49.     Defendant has also breached this duty by unreasonably delaying payment of

     Plaintiff's entire claims and by failing to settle Plaintiff's claims, as Defendant knew or should

     have known that it was reasonably clear that Plaintiffs storm-related claims were covered.

     These acts, omissions, failures, and. conduct by Defendant is a proximate cause of Plaintiffs

     damages.

                                                F.
                                    BREACH OF FIDUCIARY DUTY

            50.     Plaintiff hereby incorporates by reference all facts and circumstances in the

     foregoing paragraphs.

            5L      Defendant had a fiduciary relationship, or in the alternative, a relationship of trust

     and confidence with Plaintiff. As a result, Defendant owed a duty of good faith and fair dealing

     to Plaintiff, Defendant breached that fiduciary in that:

                    a.       The transaction was not fair and equitable to Plaintiff;

                    b.       Defendant did not make reasonable use of the confidence that Plaintiff
                             placed upon it;



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                    c.        Defendant did not act in the utmost good faith and did not exercise the
                              most scrupulous honestytowardPlaintiff;

                     d.     Defendant did hot place the interests of Plaintiff before its own, and
                            Defendant used the advantage of its position to gain a benefit for itself, at
                          • Plaintiff's expense;

                     e.       Defendant placed itself in a position where its self-interest might conflict
                              with its obligations as afiduciary;and/of

                     f.       Defendant did not fully and fairly disclose all important ^formation to
                              Plaintiff/concerning the sale of the policy.

             52.    Defendant is liable for Plaintiffs damages for breach of fiduciary duty, as such

     ' damages were objectively caused by Defendant's conduct.

                                                       C.

                                    TJ^DBiAER .WSXJRANCE PRACTICES

             53.     Plaintiff hereby ihcorporates by reference all facts and circumstances in the

      foregoing paragraphs.

             54.     Plaintiff has satisfied all conditions precedent to bringing these causes of action.

      By its acts, omissions, failures, and conduct, Defendant has engaged in unfair and deceptive acts

      or practices in the business of insurance in violation of Chapter 541 of the Texas Insurance Code.

             55.     Such violations include, without limitation, all the conduct described, in this

      Original Petition, plus Defendant's failure to properly investigate Plaintiff's claim. Plaintiff also

      includes Defendant's imreasonable delays in the investigation, adjustment, and resolution of

      Plaintiffs claims and Defendant's failure to pay for the proper repair of Plaintiffs Property, as to

      which Defendant's liability had become reasonably clear.

             56.     Additional violations include Defendant's hiring of and reliance upon biased

      adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

      and denying Plaintiffs storm-related damage and related claims.            Plaintiff further includes
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     Defendant's failure to look for coverage and give Plaintiff the benefit of the doubt, as well as

     Defendant's misrepresentations of coverage under the subject insurance policy. Specifically,

     Defendant is also guilty of the following unfair insurance practices:

                    a.      Engaging in false, misleading, and deceptive acts or practices in the
                            business of insurance in this case;

                    b.      Engaging in unfair claims settlement practices;

                    c.      Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
                            the coverage at issue;

                    d.      Not attempting in good faith to effectuate a prompt, fair, and equitable
                            settlement of Plaintiff's claims as to which Defendant's liability had
                            become reasonably clear,

                    e.      Failing to affirm or deny coverage of Plaintiff's claims within a reasonable
                            time and failing within a reasonable time to submit a reservation of rights
                            letter to Plaintiff;

                    f.      Refusing to pay Hainfiff's claims without conducting a reasonable
                            investigation with respect to the claims; and/or

                     g.       Failing to provide promptly to a policyholder a reasonable explanation of
                              the basis in the insurance policy, in relation to the facts or applicable law,
                              for the denial of a claim or for the offer of a compromise settlement.

             57.     Defendant has also breached, the Texas Insurance Code when it breached its duty

      of good faith and fair dealing. Defendant's conduct as described herein has resulted in Plaintiffs

      damages that are described in this Original Petition.

                                                   H.
                                           MISREPRESENTATION

             58.     Plaintiff hereby incorporates by reference all facts and circumstances in the

      foregoing paragraphs.




      PLAINTIFF JERRY YOUNG'S ORIGINAL PETITION                                -     _   ,     *   Page 13
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            59.      Defendant is liable to Plaintiff under the theories of intentional misrepresentation,

     or in the alternative, negligent misrepresentation. Essentially, Defendant did not inform Plaintiff

     of certain exclusions in the policy. Misrepresentations were made with the intention that they

     should be relied upon and acted upon by Plaintiff who relied on the misrepresentations to his

     detriment. As a result, Plaintiff has suffered damages, including but not limited to loss of the

     Property, loss of use of the Property, mental anguish and attorney's fees. Defendant is liable for

     these actual consequential and penalty-based damages.

                                          I.
                   COMMON-LAW FRAUD B Y NEGLIGENT MISREPRESENTATION

             60.     Plaintiff hereby incorporates by reference all facts and circumstances in the

     foregoing paragraphs.

             61.     Plaintiff would show that Defendant perpetrated fraud by misrepresentation

     (either intentionally or negligently) by falsely representing a fact of materiality to Plaintiff, who

     relied upon such representations that ultimately resulted in his injuries and damages.

     Alternatively, Defendantfraudulentlyconcealed material facts from Plaintiff, the result of which

     caused damage to Plaintiff as a result of the storm-related damages.

             62.      Specifically, and as a proximate cause and result of thisfraudulentconcealment,

      fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

      consent of Plaintiff, Plaintiff has sustained damages far In excess of the minimum jurisdictional

      limits of this Court,

              63.     By reason of Plaintiff's reliance on Defendant fraudulent representations,

      negligent misrepresentations and/or fraudulent concealment of material facts as described in this

      complaint, Plaintiff has suffered actual damages for which he now sues.
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            64.      Plabtiff further alleges that because Defendant knew that the misrepresentations

     made to Plaintiff were false at the time they were made, such misrepresentations are fraudulent,

     negligent or grossly negligent on the part of Defendant, and constitute copduct for which the law

     allows the imposition of exemplary damages.

             65.     In this regard, Plaintiff will show that he has incurred significant litigation

     expenses, including attorneys' fees, in the investigation and prosecution of this action.

            66.      Accordingly, Plaintiff requests that penalty damages be awarded against

     Defendant in a sum in excess ofthemim^um jurisdictibnal limits of this Court.

                                       WAIVER AND ESTOPPEL

             67.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

     under the foregoing paragraphs.

             68.     Defendant has waived and is estopped from asserting any defenses, conditions,

     exclusions, or exceptions to coverage not contained in any Reservation of Rights or denial letters

     to Plaintiff.

                                                DAMAGES

             69.     Defendant's acts have been the producing and/or proximate cause of damage to

     Plaintiff, and Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this

     Court. Specifically, Defendant seeks monetary relief over $200,000 but not more than

     $1,000,000.

                                   ADDITIONAL DAMAGES & PENALTIES

             70.     Defendant's conduct was committed knowingly and intentionally. Accordingly,

     Defendant is liable for additional damages under the DTPA, section 17.50(b) (1), as well as all



      PLAINTIFF JERKY YOUNG'S ORIGINAL PETITION                                                  Page IS

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     operative provisions of the Texas msurance Code, Plaintiff is, thus, clearly entitled to the 18%

     damages allowed by the Texas Insurance Code.

                                             ATTORNEY FEES

             71.    In addition. Plaintiff; Is entitled to all reasonable and necessary attorneys' fees

     pursuant to the Texas Insurance Code, DTPA, and sections 38.OO1-.0O5 of the Civil Practice and

     Remedies Code.
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             72.    Plaintiff demands a jury trial and tenders the appropriate fee with this Original

     Petition.

                                     REQUEST FOR DISCLOSURE

             73.    Pursuant.to the Texas Rules of Civil Procedure, Plaintiff requests that Defendant

     disclose all information and/or material as required by Rule 194.2, paragraphs (a) through (1),

     and to do so within 50. days of this request.

                                    "REQUEST FOR PROP?CHON

             74.    Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

     Requests for Production.

             1. ' Please produce Defendant's complete claim files from the home, regional, local
           offices, and third party adjusters/adjusting firms regarding the claim that is the subject of
           this matter, including copies of the file jackets, "field" files and notes, and drafts of
           documents contained in the file for the premises relating to or arising out of Plaintiff's
           underlying claim.

             2. Please produce the underwriting files referring or relating in any way to the policy
           at issue in this action, including the file folders in which the underwriting documents are
           kept and drafts of all documents in the file.

             3. Please produce certified copy of the insurance policy pertaining to the claim
           involved in this suit.


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             4.. Please produce the electronic diary, including'the electronic and paper notes made
           by Defendant's claims personnel, contractors, and third party adjusters/adjusting firms
           relating tothe Plaintiffs claims.
             5. Please produce all emails and other forms of wmmunication by and between all
           parties in this matter relating to the underlying event, claim or the Property, which is the
           subject of this suit.

            6. Please produce the adjusting reports, estimates and appraisals prepared concerning
           Plaintiff s underlying claim,

            7. Please produce the field notes, measurements and file maintaihed by the adjusters)
           and engineers who physically inspected the subject Property,

             8. Please produce theemails; instant messages and internal correspondence pertaining
           to Plaintiffs underlying claim(s).

            9. Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff s
           home, regardless of whether Defendant intend to offer these items into evidence at trial.



            75.     Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

     Interrogatories.

             1.   Please identify any person Defendant expect to call to testify at the time of trial.

             2.   Please identify the persons involved in the investigation and handling of Plaintiff's
           claim for insurance benefits arising from damage relating to the underlying event, claim or
           the Property, which is the subject of this suit, and include a brief description of the
           involvement ofeach person identified, their employer, and the date(s) of such involvement

             3. I f Defendant or Defendant's representatives performed any investigative steps in
           addition to what is reflected in the claims file, please generally describe those investigative
           steps conducted by Defendant or any of Defendant's representatives with respect to the
           facts surrounding the circumstances of the subject loss. Identify the persons involved in
           each step.

            4.    Please identify by date, author, and result the estimates, appraisals, engineering;
           mold and other reports generated as a result of Defendant's investigation.

             5.   Please state the following concerning notice of claim and timing of payment:

                    a.      The date and manner in which Defendant received notice of the claim;.

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                   b.     The date and manner in which Defendant acknowledged receipt of the
                          claim;
                  c.      The date and manner in which Defendant commenced investigation of
                          the claim;
                  d.      The date and manner in which Defendant requested from the claimant
                          all items, statements, and forms that Defendant reasonably believed, at
                          the time, would b,e required from the claimant; and
                  e.      The date and manner in which Defendant notified the claimant in
                          writing of the acceptance or rejection of the claim.


          6.    Please identify by datej amount and reason, the insurance proceed payments made
         by Defendant, or on Defendant's behalf, to the Plaintiff.

           7.   Has PlainfifFs claim for insurance benefits been rej ected or denied? I f so, state the
         reasons for rejectihg/denymg the claim.

          8.    When was the date Defendant anticipated litigation?

           9.    Have any documents (including those maintained electronically) relating to the
         investigation or handling of Plaintiff's claim for insurance benefits been destroyed or
        • disposed of? I f so, please identify what, when and why the document was destroyed, and
         describe Defendant's document retention policy.

           10. Does Defendant contend that the insured premises was damaged by storm-related
         events and/or any excluded peril? I f so, state the general factual basis for this contention.

           11. Does Defendant contend that any act or omission by the Plaintiff voided, nullified,
         waived or breached the insurance policy in any way? I f so, state the general factual basis
         for this contention.

          12. Does Defendant contend that the Plaintiff failed to satisfy any condition precedent
        or covenant of the policy in any way? I f so, state the general factual basis for this
        contention.

          .13. How is the performance of the adjusters) involved in handling Plaintiff's claim
         evaluated? State the following:
                  a.     what performance measures are used; and
                  b.     describe Defendant's bonus or incentive plan for adjusters.

                                            CONCLUSION




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               76,       Plaintiff prays that judgment be entered against Defendant, and that Plaintiff be

     awarded all of his actual damages, consequential damages, prejudgment interest, additional

     statutory damages, post judgment interest, reasonable and necessary attorney fees, court costs

    and for all such other relief, general or specific, in law or in equity, whether pied or un-pled

    within this Original Petition,

                                                        PRAYER

               WHEREFORE, PREMISES CONSIDERED, Plaintiff prays; he be awarded all such relief

    to Which' he is due as a result of the acts of Defendant, and for all such other relief to which

    Plaintiff may be justly entitled.

                                                        Respectfully submitted,

                                                        T H E VOSS L A W F I R M , E C .

                                                        /s/ Clayton Hardin
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                •L A S a u v HAND A N D S E A U O F V   ATTORNEYS FOR PLAINTIFF.



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